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                           IN THE UNITED STATES DISTRICT
                         COURT FOR THE SOUTHERN DISTRICT
                             OF OHIO EASTERN DIVISION

                MENG HUANG,                          Case No: 2:19-CV-1976

                    Plaintiff,                       Hon. Judge: James L. Graham
                                                     Mag. Judge: Chelsey M. Vascura
                       vs.
                                                     JURY TRIAL DEMANDED
    THE OHIO STATE UNIVERSITY and
          GIORGIO RIZZONI,

                   Defendants.



            PLAINTIFF’S RESPONSE TO COUNSEL’S MOTION TO WITHDRAW


       I, Plaintiff, Meng Huang, respond to my counsel’s Motion to Withdraw (the “Motion”)

pursuant to Judge Graham’s February 3, 2022 Order, as follows:

Honorable Judge Graham,

       I was surprised when I received the Motion, as my counsel Obermayer and I had

communicated in mid-December 2021 and agreed to seek new counsel for this case as a joint

effort. Contrary to what Obermayer claimed in their affidavit, I have actively participated in

communicating with one attorney referred by Obermayer since December 2021 and followed up

through January 2022, but this attorney eventually didn’t take the case. I have also followed

Obermayer’s suggestion and reached out to local counsel Joshua Engel’s firm, but was informed

by Mr. Engel that there must be some miscommunication and his firm was not in a position to take

over the case as lead counsel. Apart from these two referrals, which I have already contacted, I

have not received any other feedback from Obermayer on their search for potential new counsel

for this case, prior to receiving the email notification of the filing of the Motion. I disagree with

the suggestion that I have not been responsive to Obermayer’s offer to help find new counsel. Up

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to the time I saw the Motion, it was my belief that they were still working on seeking new counsel,

and that they would not be filing the Motion as long as I cooperated in retaining new counsel.

       I have dedicated a significant part of my life to this case during the past four years and I

have supported Obermayer in their work since the very beginning. After communicating with

Obermayer in mid-December 2021, I have been diligently seeking new counsel to take over the

case. Just this past week, I have contacted more than a dozen attorneys, but all of them expressed

unwillingness to take the case due to its current “procedural posture,” referring to the undecided

summary judgement motion and the imminent trial date. These two issues are causing me extreme

difficulty in retaining new counsel.

       Therefore, I respectfully request some manner of the following relief, as the court deems

appropriate and reasonable:

       1. Permit Obermayer’s withdrawal only after the court issues a ruling on the summary

           judgement motion (preferably within 30 days), and grant a three-month trial

           continuance to help me obtain new counsel to prepare for trial or otherwise resolve the

           case.

       2. Permit Obermayer’s withdrawal only after I have secured new counsel pursuant to the

           agreement I believed I had reached with them in mid-December 2021, and grant a trial

           continuance of no less than six months so that I am better able to find new counsel to

           represent me.



                                            Respectfully submitted,


Dated: February 10, 2022                        /s/ Meng Huang



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